                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA


  KRYSTAL LOPEZ,                                    Case No. 22-cv-04160-VC
                 Plaintiff,
                                                    ORDER GRANTING IN PART AND
          v.                                        DENYING IN PART MOTION TO
                                                    STAY
  DAVE INC.,
                                                    Re: Dkt. No. 45
                 Defendant.



       The motion to stay is granted in part and denied in part. The Coinbase case at the

Supreme Court is not a sufficient basis to stay the entire case now.

       Individual discovery may go forward, as the merits of the plaintiff’s individual claims

will be relevant regardless of the outcome of the appeal. Class discovery is stayed pending

resolution of the appeal.

       IT IS SO ORDERED.
Dated: February 2, 2023
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge
